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 5                        UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                       No. 1:15-cr-02071-SAB-5
 9                            Plaintiff,
10        v.                                       ORDER DENYING MOTION AS
                                                   MOOT
11 JHONY MENDOZA,
12                            Defendant.
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19        Before the Court is Defendant Jhony Mendoza’s Motion to Withdraw Plea
20 of Guilty, ECF No. 296. In his motion, Mr. Mendoza indicated that he was not
21 aware of the consequences of his plea and implies surprise at potential harm to his
22 ability to remain in the United States after his sentence.
23        Mr. Mendoza submitted a second letter through his defense counsel, Mr.
24 Lynch, indicating that he changed his mind and would like to proceed to
25 sentencing and the plea “deal he signed.” ECF No. 309 at 3. The Court carries
26 concern that Mr. Mendoza indicated at his change of plea hearing that he was
27 aware of immigration consequences to his plea, ECF No. 157 & 163. Regardless,
28 because Mr. Mendoza has signed a statement indicating he will withdraw his

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 1 motion seeking to withdraw his guilty plea, the Court will grant his request and
 2 deny the motion as moot. This order makes no conclusions on whether Mr.
 3 Mendoza is actually legally able to withdraw his plea, or if the grounds he cited as
 4 a basis for withdrawal are meritorious.
 5        Accordingly, IT IS HEREBY ORDERED:
 6        1. Defendant’s Motion to Withdraw Plea of Guilty, ECF No. 296, is
 7 DENIED AS MOOT.
 8        IT IS SO ORDERED. The District Court Executive is hereby directed to
 9 enter this Order and furnish copies to counsel.
10        DATED this 2nd day of August, 2017.
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16                                                   Stanley A. Bastian
                                                 United States District Judge
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     ORDER DENYING MOTION AS MOOT ^ 2
